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                                                                            (SPACE BELOW FOR FILING STAMP ONLY)

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 4

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 9
10                               THE UNITED STATES DISTRICT COURT
11                        FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                  *****
12
     UNITED STATES OF AMERICA,                          Case No.: 1:19-cr-00153 DAD BAM
13
                    Plaintiff,                          MOTION TO WITHDRAW BAIL
14                                                      REVIEW HEARING; ORDER.
15          v.
                                                        Date: April 22, 2020
16   MICHAEL MIZE,                                      Time: 2:00 p.m.
                                                        Dept.: 9
17                            Defendant.
18

19   TO:    THE HONORABLE MAGISTRATE JUDGE SHEILA K. OBERTO, AND TO
            THE UNITED STATES ATTORNEY’S OFFICE, BY AND THROUGH ITS
20          REPRESENTATIVE, ROSS PEARSON, ASSISTANT UNITED STATES
21          ATTORNEY, AND TO THE UNITED STATES PRETRIAL SERVICES OFFICE
            BY AND THROUGH ITS REPRESENTATIVE, JESSICA MCCONVILLE,
22          PRETRIAL SERVICES OFFICER:

23

24          Defendant MICHAEL MIZE, by and through his counsel, Roger D. Wilson, moves this

25   Court to Withdraw his previously filed Motion to Revoke the Detention Order entered on or

26   about June 26, 2019. This request is based on prior rulings of the Court and the findings,

27   recommendations, and subsequent discussions on April 21, 2020, with Pretrial Services Officer

28   McConville related to Mr. Mize’s detention and his proposed third party custodian.


                             DEFENDANT’S MOTION TO WITHDRAW BAIL REVIEW MOTION.                              1
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 1            Withdrawal of the Motion to Revoke the Detention Order is prudent at this time.

 2            Respectfully submitted,

 3                                                 LAW OFFICE OF ROGER D. WILSON

 4     Dated:     April 22, 2020    By:                      /s/ Roger D. Wilson
                                                           ROGER D. WILSON
 5
                                                  Attorney for Defendant MICHAEL MIZE
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 9                                               ORDER
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11            This matter, having come before the Court on Defendant’s Motion to Withdraw his
12   previously filed Motion to Revoke the Detention Order, and for good cause shown,
13            Defendant’s Motion to Withdraw his previously filed Motion to Revoke the Detention
14   Order is hereby GRANTED.
15
     IT IS SO ORDERED.
16

17   Dated:     April 22, 2020                                  /s/   Sheila K. Oberto             .
18                                                     UNITED STATES MAGISTRATE JUDGE

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                           DEFENDANT’S MOTION TO WITHDRAW BAIL REVIEW MOTION.                      2
